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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHARNETTA GADLING-COLE,                 :   CIVIL ACTION
                                        :
                   Plaintiff            :
                                        :
                  v.                    :
                                        :
WEST CHESTER UNIVERSITY,                :
et al.,                                 :
                                        :
                   Defendants           :   No. 11-0796

           STIPULATION FOR WITHDRAWAL OF FILINGS 74, 75, & 76

      The parties to this action, by and through their undersigned counsel, as a

result of an agreement reached that addresses attorney’s fees and costs, hereby

stipulate and agree to withdraw the following filings:

      1. Plaintiff’s Bill of Costs (Document 74)

      2. Plaintiff’s Motion for Attorney Fees and Costs (Document 75)

      3. Defendants Belliveau, Bradley, DeHope, Dente, and Voss’s Bill of Costs
         (Document 76).

Date: June 19, 2014                           Date: June 19, 2014

Respectfully submitted,                       Respectfully submitted,

BY /s/ Jacqueline M. Vigilante                BY /s/      Kevin Bradford

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                   Plaintiff           :
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                  v.                   :
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WEST CHESTER UNIVERSITY,               :
et al.,                                :
                                       :
                   Defendants          :    No. 11-0796

                           CERTIFICATE OF SERVICE

       I, Kevin R. Bradford, hereby certify that the Stipulation for Withdrawal of

Filings 74, 75, & 76 has been filed electronically on June 19, 2014 and is

available for viewing and downloading from the Court’s Electronic Case Filing

System (“ECF”). The following parties are listed as ECF Filing Users and are

therefore automatically served by electronic means:

      Jacqueline M. Vigilante, Esquire


                                     By:      s/ Kevin Bradford

                                           Kevin R. Bradford
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